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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:
                                                          CASE NO: 18-62769-SMS
SEDRICK DARRYL WARD,
     Debtor                                                     CHAPTER 13


SUNTRUST BANK,
     Movant

v.

SEDRICK DARRYL WARD,
     Debtor
                                                           CONTESTED MATTER
TONYA WARD,
    Co-Debtor

MARY IDA TOWNSON,
    Trustee

         Respondents

                       NOTICE OF ASSIGNMENT OF HEARING

         NOTICE IS HEREBY GIVEN THAT a Motion for Relief from the Automatic Stay
 and Co-Debtor Stay has been filed in the above-styled case. In the event a hearing cannot be
 held within thirty (30) days from the filing of the motion for relief from the automatic
 stay as required by 11 U.S.C. § 362, Movant waives this requirement and agrees to the next
 earliest possible date, as evidenced by signature below. The undersigned consents to the
 automatic stay (and any related co-debtor stay) remaining in effect with respect to Movant
 until the court orders otherwise.

        A HEARING will be held at 2:00 PM on January 29, 2019, in Courtroom 1201 at
 the United States Bankruptcy Court, 75 Ted Turner Drive SW, Atlanta, GA 30303.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read
 these papers carefully and discuss them with your attorney, if you have one in this bankruptcy
 case. (If you do not have an attorney, you may wish to consult one.) If you do not want the
 court to grant the relief sought in these pleadings, or if you want the Court to consider
 your views, then you and/or your attorney must attend the hearing. You may also file a
 written response to the pleading with the Clerk at the address stated below, but you are not
 required to do so. If you file a written response, you must attach a certificate stating when,
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 how and to whom (including addresses) you served the response. Mail/deliver your response
 so it is received by the Clerk at least two (2) business days before the hearing. The address
 of the Clerk’s office: Clerk, United States Bankruptcy Court, 75 Ted Turner Drive South
 West, Atlanta, GA 30303. You must also mail a copy to the undersigned at the address
 below. In the event a hearing cannot be held within thirty (30) days from the filing of the
 motion for relief from the automatic stay as required by 11 U.S.C. § 362, Movant waives this
 requirement and agrees to the next earliest possible date, as evidenced by signature below. The
 undersigned consents to the automatic stay (and any related co-debtor stay) remaining in effect
 with respect to Movant until the court orders otherwise.


                                            /s/ Mallory Velten
                                            Mallory Velten (GA Bar No. 726971)
                                            Attorney for Movant
                                            Brock & Scott, PLLC
                                            4360 Chamblee Dunwoody Rd. Suite 310
                                            Atlanta, GA 30341
                                            Phone: 404-789-2661
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:
                                                            CASE NO: 18-62769-SMS
SEDRICK DARRYL WARD,
     Debtor                                                       CHAPTER 13


SUNTRUST BANK,
     Movant

v.

SEDRICK DARRYL WARD,
     Debtor
                                                             CONTESTED MATTER
TONYA WARD,
    Co-Debtor

MARY IDA TOWNSON,
    Trustee

         Respondents

     MOTION FOR RELIEF FROM AUTOMATIC STAY AND CO-DEBTOR STAY

         COMES NOW SunTrust Bank (hereinafter “Movant”), a secured creditor in the above-
captioned case, by and through counsel, Brock & Scott, PLLC, and moves this Court to enter an
order granting its request for relief from the automatic stay imposed by 11 U.S.C. § 362(a) and the
co-debtor stay imposed by 11 U.S.C. § 1301. In support thereof, Movant respectfully shows the
Court as follows:


         1.    On August 2, 2018, the Debtor, Sedrick Darryl Ward, filed a petition with the
Bankruptcy Court for the Northern District of Georgia under Chapter 13 of Title 11 of the United
States Code.


         2.    The Debtor, together with the Co-Debtor, Tonya Ward, holds title to the real
property (hereinafter “Collateral”) described in that Security Deed recorded in the DeKalb County
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Clerk of Superior Court in Book 13299 at Page 219 and recorded on May 31, 2002 (hereinafter
“Security Deed”) with an address of 3658 Salem Hills Ct, Lithonia, Georgia 30038. A copy of the
Security Deed is attached hereto and is incorporated herein as Exhibit A.


       3.      Movant holds a Promissory Note secured by the Security Deed from the Debtor in
the original principal amount of $112,001.00 and dated May 20, 2002 (hereinafter “Note”). A copy
of the Note is attached hereto and incorporated herein as Exhibit B.


       4.      SunTrust Bank has the right to initiate and pursue the foreclosure of the loan
because SunTrust Bank is the holder of the Note or is otherwise authorized by the owner of the
loan, pursuant to state law, to foreclose.


       5.      The Debtor has scheduled the value of the Collateral at $103,400.00.


       6.      Upon information and belief, the approximate payoff, exclusive of legal fees and
expenses incurred in connection with the instant motion, due and owing to Movant as of December
11, 2018 is $94,384.31.


       7.      As a result of the averments in paragraphs 5 and 6, insignificant equity exists in the
subject property.


       8.      The Debtor has defaulted in the mortgage payments to be made outside of the plan.
Upon information and belief, the amount of default, exclusive of fees and costs, is as follows:

                    3     payments @        $     925.37 $             2,776.11
                          (10/18 - 12/18)
                          Less unapplied suspense        $               (-4.63)
                          Total Delinquency              $             2,771.48

       9.      Cause exists for relief from the automatic stay and co-debtor stay. Direct post-
petition mortgage payments are not being made to Movant as required by the confirmed plan. As
such, Movant’s interests are not adequately protected.
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        10.     As a result of the non-payment, Movant’s interests are at risk of irreparable harm.
Therefore, relief from the co-debtor is appropriate under 11 U.S.C. § 1301.


WHEREFORE, Movant prays the Court as follows:


        1.      Modify the Automatic Stay of 11 U.S.C. § 362(a) and the Co-Debtor Stay of 11
U.S.C. § 1301 to permit Movant to enforce its security interest in the Collateral, including but not
limited to any non-bankruptcy remedies to foreclose and obtain possession;


        2.      Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this
case and so Movant may immediately enforce and implement this order granting relief from the
automatic stay;


        3.      Determine that the plan no longer provides for Movant’s claim pursuant to 11
U.S.C. § 1322(b)(5) such that further compliance with Rule 3002.1 is no longer necessary;


        4.      As an alternative to the relief prayed for above, grant adequate protection to Movant
for its interest in the Collateral;


        5.      Grant Movant permission to communicate with the Debtor and Debtor’s counsel to
the extent necessary to comply with applicable non-bankruptcy law; and


        6.      Grant Movant such other and further relief as the Court deems just and proper.



This 28th day of December, 2018.

                                             /s/ Mallory Velten
                                             Mallory Velten (GA Bar No. 726971)
                                             Attorney for Movant
                                             Brock & Scott, PLLC
                                             4360 Chamblee Dunwoody Rd. Suite 310
                                             Atlanta, GA 30341
                                             Phone: 404-789-2661
                                             gabkr@brockandscott.com
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                               CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Motion for Relief
from Automatic Stay and Co-Debtor Stay using the Bankruptcy Court’s Electronic Case Filing
program, which sends a notice of this document and an accompanying link to this document to the
following parties who have appeared in this case under the Bankruptcy Court’s Electronic Case
Filing program:

Mary Ida Townson

Emily Camille Allen

Willie Bruce Smith


        I further certify that on this day I caused a copy of this document to be served via United
States first class mail, with adequate postage prepaid, on the following parties set forth below at
the address shown for each:

Sedrick Darryl Ward
3658 Salem Hills Ct
Lithonia, GA 30038

Tonya Ward
6168 Crooked Creek Dr.
Rex, GA 30273


This 28th day of December, 2018.
                                               Brock and Scott, PLLC

                                               /s/ Mallory Velten
                                               Mallory Velten (GA Bar No. 726971)
                                               Brock & Scott, PLLC
                                               4360 Chamblee Dunwoody Rd. Suite 310
                                               Atlanta, GA 30341
                                               Ph: 404-789-2661
                                               Fax: 404-294-0919
                                               gabkr@brockandscott.com
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    Exhibit C           Case 18-62769-sms        Doc 20      Filed 12/28/18 Entered 12/28/18 17:03:24
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                                        Post-Petition Payment Ledger

Name:              SEDRICK WARD             Loan Number:                       Completed Date:              12/11/2018
                   TONYA WARD
Case No:           18-62769                 Filing Date:     8/2/2018          Completed By         AMG81



                                             Total Amount       Suspense           Post Petition
   Date Received      Amount received          Applied          Balance             Due Date            Comments
    10/4/2018            $420.00                            $       420.00
    10/4/2018            $270.00                            $       690.00
    10/4/2018            $240.00                            $       930.00
                                               $925.37      $          4.63         9/1/2018
                                                            $          4.63
                                                            $          4.63
                                                            $          4.63
                                                            $          4.63
                                                            $          4.63
                                                            $          4.63
                               Current Post Petition Due Date                           10/1/2018
                                 Current Suspense Balance                      $             4.63

                     Post-Petition Past Due Summary
     Due Date                                                 Total Amount
   (Date Range)       Payment Amount           # Months            Due
    10/01/2018-
    12/01/2018            $925.37                     3            $2,776.11
                                                                       $0.00
                                                                       $0.00
                                                                       $0.00
                                                                       $0.00
                                                                       $0.00
                                                                       $0.00
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                                       Total Amount      Suspense      Post Petition
Date Received   Amount received           Applied        Balance        Due Date       Comments
                                              Subtotal $    2,776.11
                             Less unapplied suspense $          4.63
                                Total to bring current $    2,771.48
